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MARVIN RAY sPEARs, Wo R"" U S- 3§§§°'~'°
‘ ' MPH;S
Plaintifl`,
vs. Case No. 03-CV-2961-BIP

CANADIAN NATIONAL/ILLINOIS
CENTRAL RAILROAD f/k/a
ILLINOIS CEN'I`RAL RAILROAD,

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR EXTENSION
OF TIME IN WHICH TO RESPOND TO DEFENDANT’S
SECOND SUPPLEMENTAL MEMORANDUM

 

Before the court is Plaintiff's Motion for Extension of Time in which to submit an
additional reply memorandum to Defendant’s Second Supplemental Memorandum in Support
of its Motion for Summary and/or Motion to Dismiss, pursuant to the Court’s Order entered
May 11, 2005 directing the parties to submit additional briefs, and it appearing to the Court
that, by agreement of the parties and for good cause shown, the Motion for Extension of
Time should be GRANTED; accordingly, the Plaintiff is granted two (2) Weeks, through and
including June 27, 2005, in Which to submit an additional reply brief.

It is so ORDERED.

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
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ESSEE

 

Kenneth O. Cooper

MCLEARY DOl\/HCO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/lemphis7 TN 38103

John M. Moore

KIRKPATRICK MOORE & WESTBROOK
100 N. Main Street

Ste. 2900

1\/lemphis7 TN 38103

Harold W. McLeary

MCLEARY DOl\/HCO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/lemphis7 TN 38103

W. Bradley Gilmer

MCLEARY DOl\/HCO & KYLE, PLLC
100 Peabody Place

Ste. 1250

1\/lemphis7 TN 38103

Marvin Ray Spears
6912 Poplar
Germantown7 TN 3 8138

Honorable J. Breen
US DISTRICT COURT

